Case No. 1:23-cv-03088-NYW-KAS Document 51-6 filed 08/05/24 USDC Colorado pg 1 of
                                      5




                          Exhibit 6
Case No. 1:23-cv-03088-NYW-KAS Document 51-6 filed 08/05/24 USDC Colorado pg 2 of
                                      5
Case No. 1:23-cv-03088-NYW-KAS Document 51-6 filed 08/05/24 USDC Colorado pg 3 of
                                      5
Case No. 1:23-cv-03088-NYW-KAS Document 51-6 filed 08/05/24 USDC Colorado pg 4 of
                                      5
Case No. 1:23-cv-03088-NYW-KAS Document 51-6 filed 08/05/24 USDC Colorado pg 5 of
                                      5
